        CASE 0:20-cr-00181-PJS-BRT Doc. 92 Filed 11/19/20 Page 1 of 10




                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                       Case No. 20-CR- 18 1(3XPJS/BRT)

UNITED STATES OF AMERICA,

                    Plaintiff,                    PLEA AGREEMENT AND
                                                  SENTENCING STIPULATIONS
       v.

BRYCE MICHAEL WILLIAMS,

                   Defendant.

      The United States of America and defendant BRYCE MICHAEL WILLIAMS

(hereinafter referred to as the "defendant") agree to resolve this case on the terms

and conditions that follow. This plea agreement binds only the defendant and the

United States Attorney's Offrce for the District of Minnesota (hereinafter "the United

States" or "the Government"). This agreement does not bind any other United States

Attorney's Of6ce or any other federal or state agency.

      l.     Charges. The defendant agrees to plead guilty to Count One of the

Indictment, which charges dhe defendant with Conspiracy to Commit Arson, in

violation of 18 U.S.C. S 371. The defendant fully understands the nature and

elements of the crime with which he has been charged.

      2.     Factual Basis. The defendant is pleading guilty because he is in fact

guilty of Count One of the Indictment. In pleading gurlty, the defendant admits the

following facts and that those facts establish his guilt beyond a reasonable doubt and

constitute relevant conduct pursuant to the United States Sentencing Guidelines:




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        CASE 0:20-cr-00181-PJS-BRT Doc. 92 Filed 11/19/20 Page 2 of 10




      On or about May 28, 2020, the defendant, along with others (collectively, the

"co-conspirators"), knowingly and intentionally conspired, to damage and destroy,

and attempt to damage and destrol, by means of fire, the Minneapolis Police

Department Third Precinct police station (hereafter               the Third      Precinct

headquarters), a building used     in interstate or foreign   commerce and    in activity
affecting interstate or foreign commerce.

      It   was part of the conspiracy that on May 28, 2020, the defendant and other

individuals gathered near the Third Precinct headquarters located               at   3000

Minnehaha Avenue, Minneapolis,        in the District of Minnesota and thereafter
collectively engaged    in conduct designed to maliciously damage or destroy          the

building by means of a fire.

      The defendant voluntarily and intentionally joined in the agreement with co-

conspirators, either at the time it was first reached, or at some later time while it was

still in effect. At the time the defendant joined in the agreement,   th'e defendant knew

the purpose of the agreement, which was to commit an act of arson at the Third

Precinct headquarters. While the agreement was in effect, the defendant and other

co-conspirators committed, directly and through others, certain overt acts, in

furtherance of the conspiracy and to achieve its objects, including but not limited to

the following:

      The defendant and codefendant Turner, assisted by an unidentified               co-

conspirator, worked together to light an incendiary device which they intended to be

used to start or   further accelerate a fire. The incendiary device was taken into the


                                            2
        CASE 0:20-cr-00181-PJS-BRT Doc. 92 Filed 11/19/20 Page 3 of 10




Third Precinct headquarters by Turner and was used to start a fire. The defendant

later threw a box on an existing fire located just outside the Third Precinct
headquarters entry doors.

      The Minneapolis Police Department is an organization that participates in

interstate commerce. Specifically, the Minneapolis Police Department and the City

of Minneapolis conduct business in interstate commerce, for example by purchasing

vehicles and other equipment and supplies through interstate commerce. The

activities of the Minneapolis Police Department and the City of Minneapolis

government in enforcing laws also affect interstate commerce.

      3.     Waiver of Pretrial Motions. The defendant understands and agrees

that the defendant has certain rights to file pre-trial motions in this case. As part of

this plea agreement, and based upon the concessions of the United States within this

plea agreement, the defendant knowingly, willingly, and voluntarily gives up the

right to have any pending motions resolved and to frle any additional pre-trial
motions    in this case. The defendant       aglees that, by pleading guilty, he is

withdrawing any motions previously filed.

      4.     Waiver of Constitutional Trial Rights. The defendant understands

that he has the right to go to    trial. At trial, the defendant   would be presumed

innocent, have the right to trial by jury or, with the consent of the United States and

of the Court, to trial by the Court, the right to the assistance of counsel, the right to

confront and cross-examine adverse witnesses, the right to subpoena witnesses to

testifr for the defense, the right to testifr and present evidence, and the right to be
        CASE 0:20-cr-00181-PJS-BRT Doc. 92 Filed 11/19/20 Page 4 of 10




protected from compelled self-incrimination. The defendant understands that he has

the right to an attorney at every stage of these proceedings and, if necessary, one    will

be appointed to represent   him. The defendant understands that he has the right to
persist in a plea of not guilty and, if he does so, he would have the right to a public

and speedy trial. By pleading guilty, the defendant knowingly, willingly, and

voluntarily waives each of these trial rights, except the right to counsel. The

defendant understands that a guilty plea is a complete and final admission of guilt

and, if the Court accepts the guilty plea, the Court     will adjudge the defendant guilty

without a trial.

       5.    Additional Consequences. The defendant understands that as a
result of his conviction, he could   b'e assessed   the costs of prosecution and experience

additional conSequences, such as the loss of the right to carry firearms, the right to

vote, and the right to hold public offrce.

       6.     Statutory Penalties. The defendant understands that Count One of

the Indictment (Title 18, United States Code, Section 371) is a felony offense that

carries the following statutory penalties:

              a.     no mandatory minimum sentence;

              b.     a maximum of 5 years in prison;

              c.     a supervised release term of not more than 3 years;

              d.     a maximum fine of $250,000;

              e.     assessment to the defendant of the costs of prosecution,
                     imprisonment, and supervision, as defined in 28 U.S.C. SS 1918(b)
                     and 1920;


                                              4
          CASE 0:20-cr-00181-PJS-BRT Doc. 92 Filed 11/19/20 Page 5 of 10




               f.       a mandatory special assessment of $100 under 18 U.S.C.
                        $ 3013(a)(2)(A);

               g.       the possible loss of eligibility for federal benefits pursuant to   2l
                        U.S.C. S 862(aX1); and

               h.       mandatory restitution pursuant to 18 U.S.C.     S   36634.


        7.     Revocation of Supervised Release. The defendant understands that

if   he were to violate any condition of supervised release, the defendant could be

sentenced to an additional term of imprisonment up to the length of the original

supervised release term, subject to the statutory maximums set forth            in   18 U.S.C.

s 3583.

        8.     Guidelines Calculations. The parties acknowledge that                        the

defendant    will   be sentenced   in accordance with   18 U.S.C. S 3551, et seq. Nothing    in

this plea agreement should be construed to limit the parties from presenting any and

all relevant evidence to the Court at sentencing. The parties also acknowledge that

the Court will consider the United States Sentencing Guidelines in determining the

appropriate sentence and stipulate to the following guidelines calculations. The

parties stipulate to the following guidelines calculations:

               a.       Base Offense Level. The parties agxee that the base offense
                        level is 24. U.S.S.G. $ 2X1.l(a);\S 2K1.4(a)(l).

               b.       Specific Offense Characteristics. The parties agree that that no
                        specific offense characteristics apply.

               c.       Chapter 3 Adiustments. The parties agree that, other than
                        acceptance of responsibility, no other Chapter 3 adjustments
                        apply.
CASE 0:20-cr-00181-PJS-BRT Doc. 92 Filed 11/19/20 Page 6 of 10




    d.    Acceptance of Responsibility. The government agrees to
          recommend that the defendant receive a 2-level reduction for
          acceptance of responsibility pursuant to U.S.S.G. S 3E1.1(a). As
          the defendant has timely notified the government of his intention
          to enter a plea of guilty, the government agrees to recommend
          that the defendant receive an additional l-level reduction
          pursuant to U.S.S.G. $ 381.10). Whether these reductions will
          be imposed shall be determined by the Court in its discretion.
          However, the defendant understands and agxees that the
          government's recommendations are conditioned upon the
          following: (1) the defendant testifies truthfully during the change
          of plea and sentencing hearings; (2) the defendant provides full,
          complete and truthful information to the United States Probation
          Office in the pre-sentence investigation; and (3) the defendant
          engages in no conduct inconsistent with acceptance of
          responsibility before the time of sentencing, including frivolously
          denying facts in the Presentence Report. Nothing in this
          agreement'limits the right of the government, pursuant to
          U.S.S.G. S 381.1 and/or S 3C1.1 to seek denial of a reduction for
          acceptance of responsibility or an enhancement for obstruction of
          justice should the defendant move to withdraw his guilty plea
          after it is entered.

    e.    Criminal History Category. The parties believe that, at the time
          of sentencing, the defendant will fall into Criminal History
          Category I. U.S.S.G. $ 44'1.1. This does not constitute a
          stipulation, but a belief based on an assessment of the
          information currently known. The defendant's actual criminal
          history and related status will be determined by the Court based
          on the information presented in the Presentence Report and by
          the parties at the time of sentencing. The defendant understands
          that if the presentence investigation reveals any prior adult or
          juvenile sentence which should be included within his criminal
          history under the U.S. Sentencing Guidelines, the defendant will
          be sentbnced based on his true criminal history category, and he
          will not be permitted to withdraw from this Plea Agreement.
          u.s.s.G. s 4A1.1.

          Guidelines Range . If the adjusted offense level is 21, and the
          criminal history category is I, the Sentencing Guidelines range
          is 37-46 months of imprisonment.

          Fine RanEe. If the adjusted offense level is 21, the Sentencing
          Guidelines fine range is $15,000-$150,000. U.S.S.G. $ 5E1.2(c).
        CASE 0:20-cr-00181-PJS-BRT Doc. 92 Filed 11/19/20 Page 7 of 10




             h.     Supervised Release. The Sentencing Guidelines require a term of
                    supervised release of at least 1 year up to a maximum supervised
                    release term of 3 years. U.S.S.G. $ 5Df .2(a)(2).

      9.     Discretion of the Court. The foregoing stipulations are binding on the

parties, but do not bind the Probation Offrce or the Court. The parties understand

that the Sentencing Guidelines are advisory and their application is a matter that

falls solely within the Court's discretion. The Court will make its own determination

regarding the applicable Guidelines factors and the applicable criminal history

category. The Court may also depart from the applicable Guidelines range. If the

Court or the Probation Offrce determines that the applicable guideline calculations

or the defendant's criminal history category is different from that stated above, the

parties may not withdraw from this agreement, and the defendant will be sentenced

pursuant to the Court's determinations.

      10.    Agreements as to Sentencing Recommendation..The parties are

free to recommend whatever sentence they deem appropriate. The parties reserve

the right to make a motion for departures from the applicable Guidelines range

pursuant to 18 U.S.C. $ 3553(a), to oppore any such motion made by the opposing

party, and to argue for a sentence outside the applicable Guidelines range. If the

Court does not accept the sentencing recommendation of the parties, the defendant

will have no right to withdraw his guilty plea.

      ll.    Special Assessment. The Guidelines require payment of a special

assessment   in the amount of $100 for each felony count of which the defendant is
        CASE 0:20-cr-00181-PJS-BRT Doc. 92 Filed 11/19/20 Page 8 of 10




convicted, pursuant to Guideline S 5E1.3. The defendant agrees to pay the special

assessment at the time of sentencing.

      12. Restitution.        The defendant understands and agrees that 18 U.S.C.     S


3663, and the Mandatory Victim Restitution Act, 18 U.S.C. S 36634, apply to this

case and   that the Cburt is required to order the defendant to make restitution to the

victims of his crimes. The defendant agrees that he owes restitution and agrees that

the Court will order him to pay restitution in the amount up to $12,000,000 to the

City of Minneapolis. The parties agree that the total amount of restitution may be as

high as $12,000,000, but the parties reserve their rights to make legal arguments as

to the amount of restitution to be paid by the defendant.

      The defendant represents that he will fully and completely disclose to the

United States Attorney's Office the existence and location of any assets in which the

Defendant has any right, title, or interest. The defendant agrees to assist the United

States in identifuing, locating, returning, and transferring assets for use in payment

of restitution and fines ordered by the Court. As part of this Agreement, the
defendant   will   complete, under penalty of perjury, a financial disclosure   form-
provided by the United States-listing       all the   defendant's assets and financial

interests valued at more than $1,000. The defendant agrees to provide updates with

any material changes in circumstances, as described in 18 U.S.C. S 3664(k), which

occur prior to sentencing, within seven days of the event giving rise to the changed

circumstance. The defendant expressly authorizes the U.S. Attorney's Office to




                                            8
        CASE 0:20-cr-00181-PJS-BRT Doc. 92 Filed 11/19/20 Page 9 of 10




obtain a credit report on him to evaluate the defendant's ability to satisfy any

financial obligation imposed by the Court.

       13. Forfeiture.       The defendant agrees to forfeit to the United States,

pursuant to 18 U.S.C.     $ 982(aX2XB),    any property constituting, or derived from,

proceeds obtained, directly or indirectly, as a result of his violation of 18 U.S.C. S 371,

and pursuant to 18 U.S.C.    S   8   (c) and 28 U.S.C. S 2461(c), any explosive materials

involved, or used, or intended to be used, in that violation. The United States reserves

its right to seek a money judgment forfeiture, to forfeit substitute assets, and to forfeit

any additional directly forfeitable property.

       14.   Waivers of Appeal and Collateral Attack. The defendant hereby

waives the right to appeal any non-jurisdictional issues. This appeal waiver includes,

but is not limited to, the defendant's waiver of the right to appeal guilt or innocence,

sentence and restitution, and the constitutionality of the statutes         to which the
defendant is pleading   guilty. The parties      agree, however, that excluded from this

waiver is an appeal by defendant of the substantive reasonableness of a term of

imprisonment above the high end of the Guidelines range determined by the district

court. The defendant also waives the right to petition under 28 U.S.C. 52255 except

based upon a claim of ineffective assistance of counsel.

      The defendant has discussed these rights with the defendant's attorney. The

defendant understands the rights being waived, and the defendant waives these

rights knowingly, intelligently, and voluntarily.




                                             9
         CASE 0:20-cr-00181-PJS-BRT Doc. 92 Filed 11/19/20 Page 10 of 10




        The United States agrees to waive its right to appeal any sentence except the

government may appeal the substantive reasonableness of a term of imprisonment

below the low end of the Guidelines range determined by the district court.

        15.       FOIA Requests. The defendant waives all rights to obtain, directly or

through others, information about the investigation and prosecution of this case

under the Freedom of Information Act and the Privacy Act of 1974,5 U.S.C.        SS 552,

5524.

        16.       Complete Agreement. This, along with any agreement signed by the

parties before entry of the plea, is the entire agreement and understanding between

the United States and the defendant.


                                                  ERICA H. MacDONALD
                                                  United States Attornev


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                                                        Y M. JACOBS
                                                  Assistant United States Attorneys



Date: ll   /lq /    roaP
                                                  BRYCE MICHAEL WILLIAMS
                                                  Defendant



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Date:        f11fuozo

                                                       sel for Defendant

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